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                         IN THE UNITED STATES DISTRICT COURT                                   F L   ED
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION                                2U16   DEC -7     PM   :
                                                                                                                  6

NYDIA DOMINGUEZ,                                   §
                                                                                           !
                                                                                                              A

     Plaintiff,                                    §                                 Y
                                                   §
v.                                                 §                 EP-16-CV-045-DB
                                                   §
BURKEEN TRUCKING COMPANY et                        §
at.,                                               §
       Defendants.                                 §

                                        FINAL JUDGMENT

                  On this day, the Court issued an order dismissing all claims in the above

captioned case.     The Court now enters this Final Judgment in accordance with Federal Rule of

Civil Procedure 58.

                  Accordingly, IT IS HEREBY ORDERED that the above-captioned case is

DISMISSED WITH PREJUDICE.

                  SIGNED this 7th day of December 2016.




                                                                      II BRIONES
                                                SENIOR I(NITED STATES DISTRICT JUDGE
